   Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater         *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on              *
   April 20, 2010                                  *   SECTION: J
                                                   *
                                                   *
This document relates to:                          *   HONORABLE CARL J. BARBIER
                                                   *
12-cv-968, Plaisance, et al. v. BP Exploration     *   MAGISTRATE JUDGE SHUSHAN
& Production Inc., et al.                          *
                                                   *
and                                                *
                                                   *
12-cv-970, Bon Secour Fisheries, Inc., et al. v.   *
BP Exploration & Production Inc., et al.           *

MEMORANDUM IN SUPPORT OF JOINT MOTION FOR (1) ESTABLISHMENT OF A
COMMON BENEFIT FEE AND COST FUND PURSUANT TO THE ECONOMIC AND
PROPERTY DAMAGES AND MEDICAL BENEFITS CLASS ACTION SETTLEMENT
    AGREEMENTS; (2) APPROVAL OF THE PAYING AGENT AGREEMENTS
PURSUANT TO THE ECONOMIC AND PROPERTY DAMAGES AND THE MEDICAL
    BENEFITS CLASS ACTION SETTLEMENT AGREEMENTS; AND CLASS
REPRESENTATIVES’ MOTION FOR (3) APPOINTMENT OF ESCROW AGENT FOR
  THE COMMON BENEFIT FEE AND COST FUND; AND (4) APPOINTMENT OF
       ADMINISTRATOR OF THE COMMON BENEFIT FEE AND FUND

       The Economic and Property Damages and Medical Benefits Class Representatives and

BP Exploration & Production Inc. and BP America Production Company (“BP”) respectfully

request that the Court grant their joint motion for (1) establishment of a Common Benefit Fee

and Cost Fund (“Common Benefit Fund”) pursuant to the Economic and Property Damages

Settlement Agreement (“Economic Settlement Agreement”) and Medical Benefits Class Action

Settlement Agreement (“Medical Settlement Agreement”) (collectively, the “Settlement

Agreements”); and (2) approval of the Paying Agent Agreements pursuant to the Settlement

Agreements. Further, the Class Representatives move, without objection from BP, for the Court

to (3) appoint JPMorgan Chase Bank, N.A. as Escrow Agent for the Common Benefit Fund and
     Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 2 of 12




(4) appoint Philip A. Garrett, CPA, of Bush, Louisiana as administrator of the Common Benefit

Fund.

        As explained herein, the establishment of the Common Benefit Fund, which will be

separate from the trusts established to pay settlement benefits and other settlement costs, and

which will instead pay common benefit attorneys’ fees and costs subject to the Court’s approval

and supervision, is a necessary component of the Settlement Agreements. Approval of the

Paying Agent Agreements, moreover, is required under Sections 5.12.1.7 and XXII.O of the

Economic and Medical Settlement Agreements, respectively, before payments to class members

may commence. Finally, the Class Representatives submit (without objection from BP) that

(1) appointment of the Escrow Agent will protect the assets of the Common Benefit Fund and

ensure that distributions from such fund are only made upon an order of the Court, and (2) the

appointment of Philip A. Garrett, CPA, of Bush, Louisiana, is necessary to facilitate the parties’

agreement with respect to the payment of attorneys’ fees and costs.

I.      Establishment of Common Benefit Fee and Cost Fund on Joint Motion

        Section 5.16 of the Economic Settlement Agreement provides:

               Unless the Court directs otherwise, a separate fund (intended to
               qualify as a “qualified settlement fund,” under § 468(d)(2) of the
               Internal Revenue Code and Treasury Regulation § 1.468B.1) will
               be established out of which common benefit attorneys’ fees and
               costs to the Economic Class Counsel and/or other common benefit
               attorneys who have submitted time and costs in compliance with
               Pretrial Order 9, will be paid by Order of the Court. This separate
               qualified settlement fund will be established pursuant to Order of
               the Court, and operated under Court supervision and control. This
               separate qualified settlement fund shall be separate from any of the
               funds described in Section 5.12, and will not be administered by
               the Claims Administrator. BP’s discharge from liability regarding
               payment of these attorneys’ fees and costs into the Fund described
               in Section 5.16 shall be determined in conjunction with the
               negotiation of attorneys’ fees to be conducted and shall be set forth
               in Exhibit 27 and as approved by the Court. The Court shall


                                                2
   Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 3 of 12




              determine the form and manner of administering this fund, in
              which BP will have no reversionary interest.

(Rec. Doc. 6430-1 at 54-55.)

       And Section XX.S of the Medical Settlement Agreement similarly provides:

              Unless the COURT directs otherwise, a separate fund (intended to
              qualify as a “qualified settlement fund,” under § 468B(d)(2) of the
              Internal Revenue Code and Treasury Regulation § 1.468B.1) will
              be established out of which common benefit attorneys’ fees and
              costs to the MEDICAL BENEFITS CLASS COUNSEL and/or
              other common benefit attorneys who have submitted time and
              costs in compliance with Pretrial Order 9 will be paid pursuant to
              order of the COURT. This separate qualified settlement fund will
              be established pursuant to order of the COURT, and will operate
              under COURT supervision and control. This separate qualified
              settlement fund shall be separate from the qualified settlement fund
              described in Section XXII.C and any of the FUNDS described in
              Section XXII.D, and will not be administered by the CLAIMS
              ADMINISTRATOR.            This Section shall be determined in
              conjunction with the negotiation of attorneys’ fees to be conducted
              and shall be set forth in Exhibit 19 and as approved by the
              COURT. BP’s discharge from liability regarding payment of these
              attorneys’ fees and costs into the fund described in this Section
              XXII.S shall be set forth in Exhibit 19 and as approved by the
              COURT. The COURT shall determine the form and manner of
              administering of this fund, in which BP will also have no
              reversionary interest.

(Rec. Doc. 6427-1 at 166-67.)

       Exhibit 27 to the Economic Settlement Agreement and Exhibit 19 to the Medical

Settlement Agreement (the “Fees and Costs Exhibits”) further provide that “[t]he BP Parties

shall make payments into the qualified settlement fund to be established pursuant to Section 5.16

of the Economic [Settlement] Agreement and Section XXII.S of the Medical Settlement

Agreement.” Under the terms of the Fees and Costs Exhibits, BP shall make a payment into the




                                               3
    Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 4 of 12




Common Benefit Fund 30 days after the Court has granted preliminary approval of the Economic

Settlement Agreement, that is, by June 1, 2012.1

        If approved by the Court, the Common Benefit Fund that the Parties agreed to establish

will satisfy the legal requirements for a qualified settlement fund:

        (1) The Parties propose that the Common Benefit Fund would be approved by this Court
        and made subject to its continuing jurisdiction. See 26 C.F.R. § 1.468B–1(a) & (c)(1).

        (2) In addition, the Common Benefit Fund would be established as part of the resolution
        of tort, contract, or violation of law claims (contested or uncontested) arising out of the
        Deepwater Horizon Incident (and which has given rise to numerous such claims asserting
        liability) and settled pursuant to the Economic and Medical Settlement Agreements. See
        id. at Section 1.468B–1(a) & (c)(2)(ii).2

        (3) The assets to be deposited in the Common Benefit Fund will be segregated from the
        general assets of BP and the BP Entities. See id. at Section 1.468B–1(a) & (c)(3).

Even though the Common Benefit Fund will not be attributable to the claimants, it clearly

satisfies Section 1.468B–1(c)(2)(ii), as noted above. Whether common benefit fees are paid by a

defendant on top of settlement payments paid directly to class members or are held back from the

recoveries paid directly to class members, such common benefit fees are a necessary component

of what the defendants are paying to resolve the underlying tort claims of the class. See, e.g.,

Boeing Co. v. Van Gembert, 444 U.S. 472, 478 (1980) (“[T]his Court has recognized consistently

that a litigant or a lawyer who recovers a common fund for the benefit of persons other than

himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole.”). This

“fund as a whole” or common fund, including the amounts going to pay the common benefit


1
    The Fees and Costs Exhibits also provide that BP’s first payment will only occur after the Court has entered an
    Order modifying the Holdback Order to provide that it shall not apply to any settlement payments made to class
    members. Because such an order was entered on May 3, 2012 (Rec. Doc. 6428), that condition has already
    been satisfied.
2
    Note as well that the D1 Master Complaint (Rec. Doc. 880) asserted claims under the Comprehensive
    Environmental Response, Compensation and Liability Act of 1980 (“CERCLA”), and hence
    Section 1.468B–1(a) & (c)(2)(i) would also be satisfied by the proposed Common Benefit Fund. The Economic
    Settlement, when finally approved, would obtain a class release for CERCLA claims.

                                                        4
      Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 5 of 12




attorneys, represents the total amount that the defendant is required to pay to “resolve” the claims

of the class.3

          Therefore, pursuant to the terms of the Economic and Medical Benefits Settlements, the

Parties now request that the Court order that a separate Common Benefit Fund be established.

The Parties further request that the Court find and hold that the Common Benefit Fund is a

qualified settlement fund under section 468(d)(2) of the Internal Revenue Code and Treasury

Regulation Section 1.468B–1, that the Court retain continuing jurisdiction over the fund, and that

the fund be operated under the supervision and control of the Court. Furthermore, the Parties

request that the Court find and hold that BP will be discharged from liability regarding payment

of common benefit attorneys’ fees and costs by paying into the Fund as required pursuant to

Section 5.16 of the Economic Settlement Agreement, Section XXII.S of the Medical Settlement

Agreement, and the accompanying Fees and Costs Exhibits. Finally, the Parties request that the

Court find and hold that BP and the Released Parties shall have no responsibility, obligation, or

liability of any kind whatsoever with respect to how the Common Benefit Fund is operated or

allocated among any counsel for the Economic Class or Medical Class.

II.       Approval of Paying Agent Agreements on Joint Motion

          The parties separately request that the Court approve the Paying Agent Agreements,

substantially in the form of Exhibits 1 and 2 to this Memorandum, for both the Economic and


3
      Had BP and Class Counsel not agreed that attorneys’ fees would be paid on top of benefits to class members,
      Class Counsel would presumably have left the holdback order in place, and the settlement trusts, in making
      payments to claimants, would have deducted the holdback percentage from such payments and deposited the
      funds in that court-established escrow account, from which the Court would then have awarded common benefit
      fees to Class Counsel. Instead, BP will make certain payments above and beyond the settlement benefits into
      the Common Benefit Fund, and the Court will then decide what fees should be awarded from that fund to Class
      Counsel for the common benefit they have created. The recovery for the Class Members is thus greater than if
      the holdback remained in effect, and provides a clear benefit to the Class. But although the common benefit fee
      mechanisms differ in whether the fees will be paid from the settlement trusts or the Common Benefit Fund, in
      both situations, the common benefit fees benefit the class and are being paid to resolve Deepwater Horizon
      claims.

                                                          5
   Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 6 of 12




Medical Settlement Agreements. Under both Settlement Agreements, the Court’s approval is

required before the Paying Agent may commence making payments to class members.

       Specifically, Section 5.12.1.7 of the Economic Settlement Agreement provides:

       The Claims Administrator shall enter into a Paying Agent Agreement, in form and
       substance reasonably satisfactory to the BP Parties and Lead Class Counsel and
       approved by the Court, pursuant to which a federally insured depository
       institution approved by the BP Parties and Lead Class Counsel and the Court will
       serve as the lead paying agent and escrow agent for the Claims Funds (the “Lead
       Paying Agent”), and Garden City Group, Inc. (or another entity agreed to by the
       BP Parties and Lead Class Counsel, with approval of the Court) will serve as the
       claims payment agent for the Claims Funds (the “Claims Payment Agent”). In
       addition, the Lead Paying Agent may enter into an arrangement with one or more
       other federally insured depository institutions with branch locations in the Gulf
       Region (collectively, the “Gulf Region Bank”) and/or another check cashing
       facility agreed to by BP and Lead Class Counsel, and approved by the Court that
       provides that checks drawn on the Fund Accounts of the Claims Funds will be
       eligible to be cashed or deposited in branches of the Gulf Region Bank in a
       manner that will expedite the recipients’ access to such funds (the “Check
       Cashing Arrangement”).

(Rec. Doc. 6430-1 at 49-50.)

       Similarly, section XXII.O of the Medical Settlement Agreement provides:

       The CLAIMS ADMINISTRATOR shall enter into a PAYING AGENT
       AGREEMENT, in form and substance reasonably satisfactory to BP and
       MEDICAL BENEFITS CLASS COUNSEL, and approved by the COURT,
       pursuant to which a federally insured depository institution, approved by BP and
       MEDICAL BENEFITS CLASS COUNSEL, will serve as escrow agent and
       LEAD PAYING AGENT for the GENERAL MEDICAL CLAIMS FUND. The
       LEAD PAYING AGENT shall enter into the CHECK CASHING
       ARRANGEMENT with the GULF REGION BANK that provides that checks
       drawn on the GENERAL MEDICAL CLAIMS FUND will be eligible to be
       cashed or deposited in branches of the GULF REGION BANK in a manner that
       will expedite the recipients’ access to such funds. Additionally, the LEAD
       PAYING AGENT may enter into an arrangement with a check-cashing facility
       agreed to by BP and MEDICAL BENEFITS CLASS COUNSEL and approved by
       the COURT. . . .

(Rec. Doc. 6427-1 at 164.)




                                              6
   Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 7 of 12




       The parties submit that the Court’s approval of the Paying Agent Agreements will serve

the interests of class members in obtaining full and speedy compensation under the Settlement

Agreements, and therefore request that the Court approve the agreements.

III.   Class Representatives’ Motion for Appointment of Escrow Agent

       To establish the Common Benefit Fund, the Class Representatives request that the Court

appoint JPMorgan Chase Bank, N.A., as Escrow Agent for the Common Benefit Fund. The

establishment of an escrow account at JPMorgan Chase Bank, N.A. will protect the assets of the

Common Benefit Fund and ensure that distributions from such fund are only made upon an order

of the Court. BP does not oppose this request.

IV.    Class Representatives’ Motion for Appointment of Common Benefit Fund
       Administrator

       The Class Representatives request that the Court appoint Philip A. Garrett, CPA, of Bush,

Louisiana, as administrator of the Common Benefit Fund. Mr. Garrett is a certified public

accountant with a B.S. in accounting from the University of New Orleans and more than 35 years

of experience. The Class Representatives submit that his appointment will facilitate the parties’

agreement with respect to the payment of attorneys’ fees and costs. BP does not oppose this

request.

                                        CONCLUSION

       For the foregoing reasons, the Parties respectfully request that the Court enter an order

granting the relief requested.




                                                 7
  Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 8 of 12




May 11, 2012                           Respectfully submitted,




/s/ Stephen J. Herman                  /s/ James Parkerson Roy
Stephen J. Herman, La. Bar No. 23129   James Parkerson Roy, La. Bar No. 11511
HERMAN HERMAN KATZ & COTLAR            DOMENGEAUX WRIGHT ROY &
LLP                                    EDWARDS LLC
820 O’Keefe Avenue                     556 Jefferson Street, Suite 500
New Orleans, Louisiana 70113           Lafayette, Louisiana 70501
Telephone: (504) 581-4892              Telephone: (337) 233-3033
Fax No. (504) 569-6024                 Fax No. (337) 233-2796
E-Mail: sherman@hhkc.com               E-Mail: jimr@wrightroy.com

Lead Class Counsel                     Lead Class Counsel



                          ADDITIONAL CLASS COUNSEL

Joseph F. Rice                             Conrad S.P. “Duke” Williams
MOTLEY RICE LLC                            WILLIAMS LAW GROUP
28 Bridgeside Blvd.                        435 Corporate Drive, Suite 101
Mount Pleasant, SC 29464                   Maison Grand Caillou
Office: (843) 216-9159                     Houma, LA 70360
Telefax: (843) 216-9290                    Office: (985) 876-7595
E-Mail: jrice@motleyrice.com               Telefax: (985) 876-7594
                                           E-Mail: duke@williamslawgroup.org

Brian H. Barr                              Robin L. Greenwald
LEVIN, PAPANTONIO, THOMAS,                 WEITZ & LUXENBERG, PC
MITCHELL, ECHSNER & PROCTOR, PA            700 Broadway
316 South Baylen St., Suite 600            New York, NY 10003
Pensacola, FL 32502-5996                   Office: (212) 558-5802
Office: (850) 435-7045                     Telefax: (212) 344-5461
Telefax: (850) 436-6187                    E-Mail: rgreenwald@weitzlux.com
E-Mail: bbarr@levinlaw.com




                                       8
   Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 9 of 12




Jeffrey A. Breit                           Rhon E. Jones
BREIT DRESCHER IMPREVENTO &                BEASLEY, ALLEN, CROW, METHVIN,
WALKER, P.C.                               PORTIS & MILES, P. C.
999 Waterside Drive, Suite 1000            218 Commerce St., P.O. Box 4160
Norfolk, VA 23510                          Montgomery, AL 36104
Office: (757) 670-3888                     Office: (334) 269-2343
Telefax: (757) 670-3895                    Telefax: (334) 954-7555
E-Mail: jbreit@bdbmail.com                 E-Mail: rhon.jones@beasleyallen.com

Elizabeth J. Cabraser                      Matthew E. Lundy
LIEFF, CABRASER, HEIMANN &                 LUNDY, LUNDY, SOILEAU & SOUTH,
BERNSTEIN, LLP                             LLP
275 Battery Street, 29th Floor             501 Broad Street
San Francisco, CA 94111-3339               Lake Charles, LA 70601
Office: (415) 956-1000                     Office: (337) 439-0707
Telefax: (415) 956-1008                    Telefax: (337) 439-1029
E-Mail: ecabraser@lchb.com                 E-Mail: mlundy@lundylawllp.com

Philip F. Cossich, Jr.                     Michael C. Palmintier
COSSICH, SUMICH, PARSIOLA &                deGRAVELLES, PALMINTIER,
TAYLOR                                     HOLTHAUS & FRUGE’
8397 Highway 23, Suite 100                 618 Main Street
Belle Chasse, LA 70037                     Baton Rouge, LA 70801-1910
Office: (504) 394-9000                     Office: (225) 344-3735
Telefax: (504) 394-9110                    Telefax: (225) 344-0522
E-Mail: pcossich@cossichlaw.com            E-Mail: mpalmintier@dphf-law.com

Robert T. Cunningham                       Paul M. Sterbcow
CUNNINGHAM BOUNDS, LLC                     LEWIS, KULLMAN, STERBCOW &
1601 Dauphin Street, P. O. Box 66705       ABRAMSON
Mobile, AL 36660                           601 Poydras Street, Suite 2615
Office: (251) 471-6191                     New Orleans, LA 70130
Telefax: (251) 479-1031                    Office: (504) 588-1500
E-Mail: rtc@cunninghambounds.com           Telefax: (504) 588-1514
                                           E-Mail: sterbcow@lksalaw.com

Alphonso Michael “Mike” Espy               Scott Summy
MORGAN & MORGAN, P.A.                      BARON & BUDD, P.C.
188 East Capitol Street, Suite 777         3102 Oak Lawn Avenue, Suite 1100
Jackson, MS 39201                          Dallas, TX 75219
Office: (601) 949-3388                     Office: (214) 521-3605
Telefax: (601) 949-3399                    Telefax: (214) 599-1172
E-Mail: mike@mikespy.com                   E-Mail: ssummy@baronbudd.com




                                       9
  Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 10 of 12




Calvin C. Fayard, Jr.                 Mikal C. Watts
FAYARD & HONEYCUTT                    WATTS GUERRA CRAFT, LLP
519 Florida Avenue, SW                Four Dominion Drive, Building 3, Suite 100
Denham Springs, LA 70726              San Antonio, TX 78257
Office: (225) 664-4193                Office: (210) 447-0500
Telefax: (225) 664-6925               Telefax: (210) 447-0501
E-Mail: calvinfayard@fayardlaw.com    E-Mail: mcwatts@wgclawfirm.com

Ervin A. Gonzalez
COLSON HICKS EIDSON
255 Alhambra Circle, Penthouse
Coral Gables, FL 33134
Office: (305) 476-7400
Telefax: (305) 476-7444
E-Mail: ervin@colson.com




                                     10
  Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 11 of 12




                                     /s/ Richard C. Godfrey, P.C.      .
James J. Neath                       Richard C. Godfrey, P.C.
Mark Holstein                        J. Andrew Langan, P.C.
BP AMERICA INC.                      Andrew B. Bloomer, P.C.
501 Westlake Park Boulevard          Elizabeth A. Larsen
Houston, TX 77079                    KIRKLAND & ELLIS LLP
Telephone: (281) 366-2000            300 North LaSalle Street
Telefax: (312) 862-2200              Chicago, IL 60654

Ellen K. Reisman                     Jeffrey Bossert Clark
ARNOLD & PORTER LLP                  KIRKLAND & ELLIS LLP
777 South Figueroa Street            655 Fifteenth Street, N.W.
Los Angeles, CA 90017-5844           Washington, D.C. 20005

James P. Joseph                      /s/ Don K. Haycraft           .
Ethan P. Greene                      Don K. Haycraft (Bar #14361)
ARNOLD & PORTER LLP                  R. Keith Jarrett (Bar #16984)
555 Twelfth Street, NW               LISKOW & LEWIS
Washington, DC 20004-1206            701 Poydras Street, Suite 5000
                                     New Orleans, Louisiana 70139
Of Counsel                           Telephone: (504) 581-7979
                                     Telefax: (504) 556-4108

                                     Robert C. “Mike” Brock
                                     COVINGTON & BURLING LLP
                                     1201 Pennsylvania Avenue, NW
                                     Washington, DC 20004
                                     Telephone: (202) 662-5985
                                     Telefax: (202) 662-6291



             ATTORNEYS FOR BP EXPLORATION & PRODUCTION INC.
                  AND BP AMERICA PRODUCTION COMPANY




                                    11
  Case 2:10-md-02179-CJB-DPC Document 6512-1 Filed 05/11/12 Page 12 of 12




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 11th day of May, 2012.



                                                          /s/ Don K. Haycraft
